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U'NITED STATES OF AMERICA,
Plaintiff,
vs. Cr. No. 02-20165 DP

ALVIN IR.WIN MOSS, et al.,

Defendants.

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ORDER AMENDING M.AY 5, 2005 ORDER GRANTING IN PART DEFENDANTS’
MOTION TO COMPEL DISCOVERY

 

On May 5, 2005, this court entered an order granting in part
defendant's motion to compel discovery. In that order, the court
directed the government to produce certain documents within twenty
days from the date of the order. On May ll, the government filed
a letter with the court requesting clarification of the May 5 order
with respect to the deadline for production of the documents.
Several defendants have filed letters in response.

The court's May 5 order is hereby amended to reflect that the
discovery materials are due by May 16, 2005, consistent with Judge

Donald's prior order.

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TU M. PHAM
United States Magistrate Judge

IT IS SO ORDERED.

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Date j

 

May 16, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 507 in
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Honorable Bernice Donald
US DISTRICT COURT

